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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


EMMANUEL CORNET, JUSTINE DE
CAIRES, GRAE KINDEL, ALEXIS
CAMACHO, JESSICA PAN, EMILY
KIM, MIGUEL ANDRES BARRETO,
and BRETT MENZIES FOLKINS,

                        Plaintiffs,            C.A. No. 1:23-cv-00441-CFC

            v.

TWITTER, INC.,

                        Defendant.

 REPLY IN FURTHER SUPPORT OF MOTION FOR LEAVE TO FILE
   BRIEF AS AMICUS CURIAE, TO INTERVENE FOR A LIMITED
 PURPOSE OR TO COORDINATE BRIEFING WITH RELATED CASE

Dated: July 24, 2023                     Joseph L. Christensen (#5146)
                                         CHRISTENSEN & DOUGHERTY LLP
Akiva Cohen (pro hac vice                1000 N. West Street, Suite 1200
forthcoming)                             Wilmington, Delaware 19801
Dylan M. Schmeyer (pro hac vice          Tel: (302) 212-4330
forthcoming)                             joe@christensendougherty.com
Michael D. Dunford (pro hac vice
forthcoming)                     Attorneys for Proposed Intervenors
Lane A. Haygood (pro hac vice
forthcoming)
KAMERMAN, UNCYK, SONIKER & KLEIN
P.C.
1700 Broadway, 16th Floor
New York, NY 10019
Tel: (212) 400-4930
acohen@kusklaw.com
dschmeyer@kusklaw.com
mdunford@kusklaw.com
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                                  INTRODUCTION

         Twitter 1 opposes Proposed Amici’s motion on essentially three bases: (1) the

motion is untimely; (2) Proposed Amici are simultaneously too interested to serve

and insufficiently interested to intervene; and (3) the proffered brief is not useful.

In reality, Twitter opposes the motion for only one reason: it has no viable

substantive response to the arguments raised by the proposed brief but, for

whatever reason, not made by the Cornet plaintiffs. Twitter asks the Court to

squander limited court resources and engage in inefficient, separate hearings and

risk potentially inconsistent decisions in this case and Arnold. But because

Proposed Amici satisfy the requirements for both amicus filing and intervention,

the Court should grant their Motion. And, if not, and in the alternative, the need to

avoid contradictory rulings counsels in favor of holding the Cornet dismissal

motion in abeyance pending the briefing in Arnold.

                                     ARGUMENT

    I.   The Proffered Brief is Useful, not Duplicative

         Confusing outcomes with arguments, Twitter suggests that the proffered

brief is not useful and repetitive of the Cornet plaintiffs’ arguments because both

briefs argue that the allegations of the complaint are sufficient to survive dismissal

and that employees did not voluntarily resign by not clicking an email. D.I. 90, 7-8.


1
 Capitalized terms have the meanings given in the Motion. Plaintiffs do not
oppose.
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But amicus briefs routinely argue in favor of an outcome sought by one party to the

litigation. Cf. Fed. App. R. 29(a)(6) (tying filing deadlines to the brief amicus

supports). The focus of the “usefulness” inquiry is not on what outcome the

proposed filing seeks, but on what specific arguments are made in support of that

outcome. See, e.g., Prairie Rivers Network v. Dynegy Midwest Generation, LLC,

976 F.3d 761, 763 (7th Cir. 2020) (amicus brief is sufficiently useful where, for

example, it offers different analytical perspective or historical nuance glossed over

by the parties). 2 The proffered brief offers an analytical perspective not raised by

the parties.

       For whatever reason, the Cornet plaintiffs did not argue the language of

Section 6.9(a) and its unambiguous declaration that the benefit provided by that

section was to be provided “to” and “for” Twitter’s employees makes those

employees third-party beneficiaries. Compare D.I 82, 6-11 with D.I. 85-1, 4-10.

Nor did Cornet plaintiffs argue the key legal issue under WHA: that third-party

beneficiary status does not depend on the contracting parties’ assent to grant rights

attendant to that status (which is why Delaware courts are free to treat “no third-

party beneficiary” clauses as mere aids to interpretation of provisions that are

otherwise ambiguous about whether a clause is intended to benefit a third party,


2
 An amicus filing cannot raise new issues, only new arguments on the issues
raised by the parties. Gen. Eng'g Corp. v. Virgin Islands Water & Power Auth., 805
F.2d 88, 92 (3d Cir. 1986)
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rather than as controlling agreements that render such interpretation unnecessary).

Compare D.I 82, 6-11 with D.I. 85-1, 4-10. Instead, for the motion to dismiss their

claims, the Cornet plaintiffs conceded that such clauses could create ambiguity

where there is none. D.I. 82, 10-11. Perhaps for that reason, the Cornet plaintiffs

treated the issue of unenforceability as creating ambiguity (as it did in Dolan,

where the clause at issue did not specifically name the third parties, 2019 WL

2711280, at *2) rather than as precluding any question about the third-party

beneficiary status of the employees (as in Amirsaleh, where the clause at issue, as

here, “manifest[ed] an unambiguous intent to benefit [the third-party],” 2008 WL

4182998, at *5). Compare D.I. 82, 11 with D.I. 85-1, 10-13. And the Cornet

plaintiffs did not raise equitable estoppel at all. D.I. 85-1, 14-15.

      Similarly, the proffered brief raises different and critical arguments on the

promissory estoppel, oral contract, and “resignation” claims. As to Twitter’s

argument that claims duplicate the breach of Merger Agreement claim, Proposed

Amici (but not the Cornet plaintiffs) alert the Court that to the extent that Twitter is

correct that the Merger Agreement provides the employees with no enforceable

rights, Twitter’s communications with the employees would fill that gap. D.I. 85-1,

18. And with respect to the “resignation” claim, only Proposed Amici provided the

Court with authority confirming that Twitter’s position is not legally valid.

Compare D.I. 85-1, 20 with D.I. 82, 16.
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II.   The Motion Is Timely

      Twitter’s argument that the motion is untimely, D.I. 90, 8-9, is likewise

misplaced. Twitter cites no precedent supporting its position, as there is none. For

purposes of an amicus filing, a brief is “timely” if it is filed within 7 days of the

principal brief of the party it supports, see Fed. App. R. 26(a)(6), and Proposed

Amici filed five days after the Cornet plaintiffs. The time period given in the

Federal Appellate Rules has an obvious purpose – it allows potential amici to see

whether the party their brief would support has already made the arguments amici

would before inundating the court with proposed briefing. That is exactly what

happened here: Proposed Amici filed their motion only after reviewing the Cornet

plaintiffs’ opposition and confirming that the motion was necessary. Reply

Declaration of Akiva M. Cohen (“Cohen Reply Dec), ¶¶ 2-3.

      Similarly, with respect to the timeliness of a motion for leave to intervene,

the issue before the Court is not the “mere passage of time.” U.S. v. Territory of the

Virgin Islands, No. 1986-265, 2012 WL 5448195, at *2 (D.V.I. Nov. 7, 2012), aff'd

sub nom. U.S. v. Territory of Virgin Islands, 748 F.3d 514 (3d Cir. 2014), quoting

Bank of Am. Nat'l Trust & Sav. Ass'n v. Hotel Rittenhouse Assocs., 844 F.2d 1050,

1056 (3d Cir. 1988). Rather, a motion to intervene is untimely if the proceedings

have substantively advanced such that the delay attendant to the intervention would

meaningfully prejudice the parties. Choike v. Slippery Rock Univ. of Penn., 297 F.
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App'x 138, 141 (3d Cir. 2008) (“the critical inquiry is: what proceedings of

substance on the merits have occurred”). Twitter concedes that no “proceedings of

substance on the merits” have occurred, and it is particularly bold for Twitter,

specifically, to contend that the delay attendant to briefing in Arnold would be

unreasonable given its position and behavior in connection with the arbitrations.

Cohen Reply Dec, ¶¶ 4-14 & Ex. 1.

III.   Leave to File as Amici Should be Granted

       Considering the above, the Court should allow the brief to be filed as an

amicus brief. The brief is timely and useful, satisfying the first three factors for

amicus briefing. And Twitter overreads the partiality factor as precluding amicus

status where a ruling in the case might adversely affect the filer’s interest in

another litigation, when the opposite is true: “An amicus brief should normally be

allowed when … the amicus has an interest in some other case that may be affected

by the decision in the present case.” Cmty. Ass'n for Restoration of Env't (CARE) v.

DeRuyter Bros. Dairy, 54 F. Supp. 2d 974, 975 (E.D. Wash. 1999) (emphasis

added). Indeed, the Third Circuit has directly rejected the argument Twitter

advances here. Neonatology Assocs., P.A. v. Comm’r, 293 F.3d 128, 131-32 (3d Cir.

2002) (“this description became outdated long ago”). 3 Rather “motions for leave to


3
 Perhaps for this reason, Twitter cites only cases that predate Neonatology in
support of its “partiality” argument. To whatever extent Twitter accurately
describes them, those cases are no longer good law in this Circuit.
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file [amicus] briefs should be granted ‘unless it is obvious that the proposed briefs

do not meet [Federal Rule of Civil Procedure] 29’s criteria as broadly interpreted.’”

In re Weinstein Co. Holdings, LLC, No. BR 18-10601-MFW, 2020 WL 1320821, at

*1 n.3 (D. Del. Mar. 20, 2020), aff'd sub nom. In re Weinstein Co. Holdings LLC,

997 F.3d 497 (3d Cir. 2021), quoting Neonatology, 293 F.3d at 133. The request for

leave should be granted.

IV.    Leave to Intervene Should Be Granted

      Alternatively, the Court should grant Proposed Amici leave to intervene for

the limited purpose of opposing the motion to dismiss. Twitter’s opposition

buttresses, rather than contradicts, Proposed Amici’s showing that Cornet plaintiffs

do not adequately represent them; as it notes, interests that “diverge sufficiently

that the existing party cannot devote proper attention to the applicant’s interests”

are sufficient. D.I. 90, 15-16, quoting Virgin Islands, 748 F.3d at 519-20. The

Cornet plaintiffs devoted pages of their scant supply of argument space to issues

that mattered to them (such as the viability of the transfer from California and the

sufficiency of the class allegations) but have no bearing on Proposed Amici and

their interests, leaving insufficient space in the Cornet plaintiffs’ briefing to focus

proper attention on the third-party beneficiary issue. As a result, the Cornet

plaintiffs’ briefing did not even cite Amirsaleh or WHA; did not engage in the

detailed analysis of Delaware’s third-party beneficiary precedents that was the
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focus of Proposed Amici’s briefing; and did not raise equitable estoppel. While

plaintiffs’ allocation of resources to those issues makes sense given the divergent

interests – they are seeking to bring a class action and had to devote space to

addressing Twitter’s attempt to dismiss the class claims – the divergence itself is

sufficient to address the “adequacy” prong and permit the Proposed Amici to

utilize their briefing space to address these important issues.

      Nor is Twitter’s citation to Bethune Plaza as challenging the sufficiency of

Proposed Amici’s interest justifiable. In Bethune Plaza, the trade association

sought to intervene because it feared that the named plaintiff would settle before

obtaining an opinion on a legal issue the trade association wanted to litigate.

Bethune Plaza, Inc. v. Lumpkin, 863 F.2d 525, 530 (7th Cir. 1988) (“The Council

apparently saw this case as an attractive vehicle that should be the basis of a

decision favorable to the Council rather than a settlement favorable to Bethune”).

That has no bearing at all on Proposed Amici’s interest in a motion that asks the

Court to construe the very disputed terms of a contract at issue in their own

actions. Nor is that in any way similar to the mere “economic interest” at issue in

AstraZeneca – Sun’s concern that a bad result in the litigation would delay its

ability to launch a generic version of the drug at issue. AstraZeneca AB v. Dr.

Reddy's Lab'ys, Ltd., No. CIV.A.05-5553 JAP, 2010 WL 4387519, at *6 (D.N.J.

Oct. 29, 2010).
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      Regardless, this case presents the paradigmatic situation for which

permissive intervention is available and should be granted. While it is true that

denial of permissive intervention is almost never an abuse of discretion, that does

not mean that permissive intervention should be denied any time it is unavailable

as of right. To the contrary, adopting that position would write permissive

intervention entirely out of existence; where intervention was available as of right

it would be granted as of right, not permissively, and where it was not permissive

intervention would be denied. Here, Twitter expressly acknowledges that denial of

leave to intervene would create a risk of inconsistent results, and quixotically

argues that Proposed Amici lack sufficient interest because inconsistent results

would be possible. D.I. 90, 18. But the specter of inconsistent results is a basis to

grant intervention, not deny it. See, e.g., Spirit of Golf GMBH v. Libonati, No. CV

09-191 (MLC), 2009 WL 10690596, at *1 (D.N.J. July 24, 2009) (identifying

potential for inconsistent results as a basis to grant intervention). 4 There can be no

reasonable dispute that the legal and factual issues overlap sufficiently to justify




4
  Twitter’s citation of Hospira, Inc. v. Sandoz Inc., No. CIV.A. 09-4591 MLC, 2014
WL 794589, at *4 (D.N.J. Feb. 27, 2014) in purported support of the contrary
proposition is puzzling at best. In Hospira, the parties settled during the pendency
of an appeal from a ruling that the patent at issue was invalid and thus asked the
court to vacate that ruling; the proposed intervenor wanted to preserve that ruling.
Id., *1. There was thus no possibility of “inconsistent rulings” to speak of, and the
intervenor therefore could not be prejudiced by the vacatur. Id., *4.
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permissive intervention for the limited purpose of addressing this motion to

dismiss, and intervention should be granted, whether as of right or permissively.

V.    At a Bare Minimum, the Court Should Consolidate Briefing With
      Arnold

      Finally, Twitter offers no meaningful basis for the Court to refuse to

consolidate the hearings in this action and Arnold. Twitter argues that the

additional claims alleged in Arnold would “complicate” the hearing in this action

but provides no rationale for how or why; those issues will need to be addressed in

the Arnold briefing and hearing in any event, and surely Twitter is not suggesting it

has concern for the Court’s ability to handle the combination of issues in that

context. A consolidated hearing would allow the Court to address the overlapping

issues in a single hearing, avoiding the risk of inconsistent decisions, while also

addressing the issues unique to Arnold in exactly the way the Court would if it held

a stand-alone hearing in that matter. And as to prejudice, Twitter’s complaint about

delay for briefing is unserious at best. Not only would the delay be relatively brief

given the stage of the proceedings, see, e.g., Deoleo v. United States Liab. Ins. Co.,

No. CV 20-2301, 2020 WL 9763085, at *1 (E.D. Pa. July 14, 2020) (stay of up to

60 days would be “relatively short”), but considering Twitter’s conduct in the

arbitrations it cannot now wax rhetorical about a sudden discovery of the value of

speed. Cohen Reply Dec, ¶¶ 4-14.
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                                 CONCLUSION

      For the reasons set forth above and in the Motion, the Court should grant the

requested relief.

      Respectfully submitted,

 Dated: July 24, 2023                        /s/ Joseph L. Christensen
                                             Joseph L. Christensen (#5146)
 Akiva Cohen (pro hac vice                   CHRISTENSEN & DOUGHERTY LLP
 forthcoming)                                1000 N. West Street, Suite 1200
 Dylan M. Schmeyer (pro hac vice             Wilmington, Delaware 19801
 forthcoming)                                Tel: (302) 212-4330
 Michael D. Dunford (pro hac vice            joe@christensendougherty.com
 forthcoming)
 Lane A. Haygood (pro hac vice
 forthcoming)
 KAMERMAN, UNCYK, SONIKER & KLEIN         Attorneys for Proposed Amici Wolfram
 P.C.                                     Arnold, Erik Froese, Tracy Hawkins,
 1700 Broadway, 16th Floor                Joseph Killian, Laura Chan Pytlarz,
 New York, NY 10019                       Andrew Schlaikjer, Isabelle Cannell,
 Tel: (212) 400-4930                      Jaime Sena, and James Shobe
 acohen@kusklaw.com
 dschmeyer@kusklaw.com
 mdunford@kusklaw.com
